               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                 2:08 cr12-5


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
MATTHEW STEVEN WATTY,                         )
                                              )
                  Defendant.                  )
________________________________________      )


       THIS MATTER is before the court upon the government’s Motion to Amend

Indictment (#54). In the motion, the government request that the bill of indictment

in this matter be amended, pursuant to Rule 7(c)(3) (citation error) of the Federal

Rules of Criminal Procedure. While the motion seeks to amend the indictment, only

bills of information may be amended and only then as provided under Rule 7(e) of the

Federal Rules of Criminal Procedure. Having considered the government’s Motion

to Amend Indictment and reviewed the pleadings, and it appearing that the

government should file a notice of correct citation, the court will deny the motion

inasmuch as neither the government nor the court can amend an indictment. The

government will, however, be granted leave to file and serve upon the defendant a

notice to point out the correct statutory violation for the crime alleged in Count Two

of the bill of indictment. This procedure has been used in this court in past cases

where a bill of indictment correctly charges an offense but incorrectly references the


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wrong statute citation which was allegedly violated by the defendant. The court

specifically notes that the motion of the government states that the Assistant United

States Attorney has spoken to defense counsel and that defense counsel has no

objection.

      The undersigned refers the government to file 1:07cr112 wherein the

government was allowed to file a Notice of Citation under similar circumstances to

show the correct statutory reference to a count alleged in a bill of indictment.



                                      ORDER

      IT IS, THEREFORE, ORDERED that the government’s Motion to Amend

Indictment (#54) is DENIED without prejudice as to filing an appropriate notice and

serving such upon the defendant as soon thereafter as is possible.



                                          Signed: June 10, 2008




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